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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                     :         CHAPTER 13
PAMELA DENISE JONJO,                       :
                                           :         CASE NO.: 24-11139-pmm
                Debtor.                    :
                                           :
Village Capital & Investment, LLC and all :
parties listed on the mailing matrix filed :
with the Clerk,                            :
                                           :
                Respondents.               :

                                 ORDER GRANTING
                         MOTION TO EXTEND AUTOMATIC STAY

       AND NOW, upon consideration of the Debtor’s Motion to Extend Automatic Stay

pursuant to Section 362(c)(3)(B), and it appearing from the Motion and Affidavit filed therewith

that the filing of the above-captioned Chapter 13 Bankruptcy Case was filed in good faith, it is

hereby ORDERED that the said Motion to Extend Automatic Stay be and is hereby GRANTED.

It is further ORDERED that the Automatic Stay shall be extended with regards to all creditors in

accordance with 11 U.S.C. § 362(c)(1)&(2)&(3)(B).




                                             __________________________________________
                                             Patricia M. Mayer, Bankruptcy Judge
